Case 1:12-cv-02999-NLH-KMW Document 256 Filed 05/31/17 Page 1 of 1 PageID: 9808




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY
                               Minutes of Proceedings

 Office: Camden                                  May 31, 2017
                                                 Proceeding Date:
 JUDGE NOEL L. HILLMAN

 Court Reporter: Robert T. Tate

 Title of Case:
                                                 Civil # 12-2999 (NLH)
 NEWBORN BROS. CO., INC.
    v.
 ALBION ENGINEERING COMPANY

 Appearances:
 John P. Madden, John Peterson, Michael Tomenga, Russel Semmel, Esqs. for
 Plaintiffs Newborn Bros.
 Keri Chewning, Martin Faiques, Michael Berkomtz, James Kozuch, Peiru Wey, Esqs.
 for Defendant Albion.


 Nature of Proceedings:   MOTION HEARING/PRETRIAL CONFERENCE

 Hearing on Defendant's [216,218,220,222,224,226] MOTIONS in Limine;
 Ordered (216) Denied; (218) Deferred; (220) Moot; (222) Decision Reserved; (224)
 Decisiion Reserved; (226) Denied; Order to be entered
 Hearing on Plaintiff's [207, 208,209,210,212] MOTIONS in Limine;
 Ordered (207) Denied; (208) Deferred; (209) Denied; (210) Decision Reserved:
 (212) Decision Reserved; Order to be entered.
 Plaintiff withdraws jury demand on the record
 Non-Jury Trial set for Monday, June 5, 2017 at 9:30 a.m., Courtroom 3A.


 Time Commenced 1:45 p.m. Time Adjourned 5:30 p.m.
 Total Time: 3 hour, 45 Min.
                                          s/Marnie Maccariella
                                          DEPUTY CLERK
